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                                                                         2017 May-04 AM 10:28
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                       United States District Court
                       Northern District of Alabama
                            Southern Division

UNITED STATES OF AMERICA,                ]
                                         ]
     Plaintiff,                          ]
                                         ]
     vs.                                 ]
                                         ] 16-CR-182-LSC-JEO
RICHARD ALAN HENDERSON and               ]
PHILIP HENRY COOPER                      ]
      Defendant.                         ]

              Order Accepting Report and Recommendation

     This Court has reviewed the Report and Recommendation of the

Honorable John E. Ott, United States Magistrate Judge [Doc. 62] entered

the 19th day of April, 2017, as well as the objections to the Report and

Recommendation made by the Defendant, Richard Alan Henderson. This

Court has made a de novo determination of those findings and portions

objected to by the defendant in this case as well as all of the issues

addressed in the Report and Recommendation.

     It is Ordered that the Report and Recommendation of the Honorable

John E. Ott, United States Magistrate Judge [Doc. 62] entered the 19th

day of April, 2017 be and hereby is accepted as entered. This court
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adopts the Report and Recommendation as the Order of this court as if

the same were set forth at this point in extenso. The objections made by

the defendant are overruled. The Amended Motion to Dismiss count two,

the “bank bribery” count of the indictment [Doc. 53] is Denied.

     Done this 4th day of May 2017.



                                                                  2620


                                        L. SCOTT COOGLER
                                   UNITED STATES DISTRICT JUDGE
